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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                       Plaintiff,

                       v.
                                                        Case No. 1:19-cv-02184-TJK
FACEBOOK, INC.,
a corporation,

                       Defendant.




   DEFENDANT’S MOTION TO ENFORCE THE STIPULATED ORDER AND TO
 ENJOIN THE ADMINISTRATIVE REOPENING PROCEEDING OF THE FEDERAL
                       TRADE COMMISSION

       Pursuant to the inherent authority of this Court as codified under the All Writs Act, 28

U.S.C. § 1651, and Rule 65(a) of the Federal Rules of Civil Procedure, and for the reasons set

forth in the accompanying memorandum of points and authorities, Defendant Meta Platforms,

Inc. (“Meta”)—previously, Facebook, Inc.—by and through its counsel, hereby moves this Court

for an order enjoining the Federal Trade Commission’s administrative proceeding to reopen and

modify Attachment A to the Stipulated Order for Civil Penalty, Monetary Judgment, and

Injunctive Relief entered by this Court on April 23, 2020 (Dkt. 35), and enforcing the exclusive

jurisdiction of this Court with respect to the modification and enforcement of that Order.

       Meta seeks this injunctive relief on both a preliminary and permanent basis, and

respectfully requests oral argument on its motion pursuant to Local Civil Rule 7(f). Meta met and

conferred telephonically with counsel for Plaintiff on May 30, 2023, and Plaintiff has indicated

that it will oppose the motion.




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DATED: May 31, 2023                      Respectfully submitted,

                                         /s/ James P. Rouhandeh

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